         Case: 1:21-cv-05283 Document #: 50 Filed: 12/21/21 Page 1 of 5 PageID #:521


   FI/2L1E D JF
     12  /2021               IN THE U.S. FEDERAL DISTRICT COURT
                        N      NORTHERN DISTRICT OF ILLINOIS
   THOMA.SDG . BRUTO   COURT
           IS T R IC T                EASTERN DIVISION
CLERK, U.S


    BRAID                                             21-cv-5283

    v                                                 Honorable Judge Jorge Alonso


    STILLEY et al

        GOMEZ EXHIBIT IN SUPPORT OF MOTION TO DISMISS [46] AND REPLY TO
                      STILLEY “STATEMENT”/RESPONSE [48]

           NOW COMES PRO SE DEFENDANT GOMEZ, Felipe Gomez, plaintiff in the first

   S.B. 8 suit, Gomez v Braid 21CI 19920, Bexar Co., Texas et al, and hereby files his amended

   Notice of Dismissal of that matter, WITH PREJUDICE, ending Gomez’s forced involvement

   here (where fake “fraidy cat” Braid should have defended, and respected Texas jurists and

   Courts, instead of violating Gomez’s rights by bringing a totally baseless interpleader in the

   wrong state not even naming Braid’s true opponent).

           The fact that the Court even contemplated allowing an interpleader to proceed without the

   venue fixing defendant, on the record, will be mentioned to USCA7 next week and at oral

   argument in an example of how he floors below in 219 are allowing, selectively, abuse of the

   interpleader, either intentionally or due to inadequate experience/knowledge as to the intricacies

   of jurisdiction and what constitutes proper versus improper interpleader: No interpleader can be

   maintained if no defendant resides in the jurisdictional boundaries of the Court, thus Gomez

   dismissal of the State case ends the federal matter by operation of law, period.

           As in cases where a Court thinks it has jurisdiction when it does not, Gomez will be

   proceeding as if he is dismissed by operation of (non-219) law, and challenges this Court to try to

   proceed with, whom will challenge any attempt by the Court or Plaintiff to retain Gomez,
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including including immediate appeal, now that the last straw mis-represented Braid grasps, by

way of his non-textual self-serving interpretation interpleader abusing lawyers, is gone.



       Submitted By: s/Felipe N. Gomez, Pro Se         12.21.21

                                    CERTIFICATE OF SERVICE

       I hereby certify that on 12.21.21 a true and correct copy of the foregoing Notice has been

   served by the emailing it to the Clerk, and by the Clerk’s filing of it with the Clerk of the

   Court via the CM/ECF system, which generates a notice of filing to all those appearing.

/s/ _Felipe N. Gomez 12.21.21_________

Felipe Gomez, Pro Se
PO Box 669
Forest Park, IL 60148
312.509.2071
fgomez9592@gmail.com
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                                 EXHIBIT
FILED
12/20/2021 9:36 AM Case: 1:21-cv-05283 Document #: 50 Filed:                     12/21/21 Page 4 of 5 PageID #:524
Mary Angie Garcia
               NOTICE:
Bexar County District    THIS DOCUMENT CONTAINS SENSITIVE DATA
                      Clerk
Accepted By: Barbara Segovia
Bexar County - 224th District Court
                                     Cause Number 21CI19920
                                           Print court information exactly as it appears on your Petition.


            Felipe Gomez                                                     In the: (check one):
                                                                             21CI19920
                                                                                                    x District Court
                                                                             Court Number
             v                                                                                         County Court at Law
                                                                                                       Justice Court (JP)
              Alan Braid, et al.                                                 Bexar                            County, Texas
          AMENDED Notice of Nonsuit, Amending to Dismiss WITH Prejudice
                                          As to All Defendants
                              Felipe N Gomez
            My name is _________________________________________________________________________.
                           Print your first, middle and last name.
          I am the Petitioner/Plaintiff in this case. I am filing this Amended Notice of Nonsuit WITH PREJUDICE
          because Dr. Braid and Judge Alonso in 21cv5283 continue to attempt to sue Gomez, despite there being
          no filed litigation as of 12.9.21, that litigation being allowed to continue as to Gomez, despite the fact that
          despite Braid's complaining as to "ruinous" litigation, he has spent ZERO dollars in this case, and in fact
          is expending max fees in attempting pretending to avoid what does not exist, and is forcing Gomez to be
          a defendant for political purposes. I no longer can or will prosecute this case against the
          Respondent/Defendant_Alan Baird, or any other listed defendant, ever, given the duplicity of Braid et al.
           Service has not issued, no party has appeared.

            Respectfully submitted,
                 s/ Felipe N Gomez                                                             12.20.21

             Your Signature                                                                 Date
                 Felipe N Gomez                                                             ( 312 ) 509-2071
             Your Printed Name                                                              Phone
                 1922 W Belmont Ave Chicago IL 60657
             Mailing Address                                                         City                     State            Zip
                 fgomez9592@gmail.com
             Email Address                                                        Fax Number (if available)


                                                          Certificate of Service
            I certify that on this date a true copy of this Notice of Nonsuit without Prejudice was sent to each party
            who has answered or been served. If a party is represented by an attorney this Notice of Nonsuit without
            Prejudice was sent to the party’s attorney. I further certify that this Notice of Nonsuit without Prejudice
            was sent: (Check one.)
            X through the Electronic File Manager.
              by Certified Mail, Return Receipt Requested.
                 by Fax, to Fax # (_____) _____-_________.
                 by Hand Delivery.

                 s Felipe N Gomez                                                              12.20.21
             Your Signature                                                                 Date




            PR-Non1-408 Notice of Nonsuit without Prejudice (Rev. 12-2016)                                                  Page 1 of 1
            © TexasLawHelp.org, Texas Rules of Civil Procedure, Rule 162
            Case: 1:21-cv-05283 Document #: 50 Filed: 12/21/21 Page 5 of 5 PageID #:525

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 60168130
Status as of 12/20/2021 3:42 PM CST

Associated Case Party: FelipeNGomez

Name               BarNumber Email                        TimestampSubmitted     Status

Felipe NGomez                   fgomez9592@gmail.com 12/20/2021 9:36:42 AM       SENT



Associated Case Party: WolfgangP.Hirczy de Mino

Name                         BarNumber   Email                    TimestampSubmitted      Status

Wolfgang PHirczy de Mino                 wphdmphd@gmail.com 12/20/2021 9:36:42 AM         SENT



Case Contacts

Name                         BarNumber    Email                    TimestampSubmitted     Status

Wolfgang P.Hirczy de Mino                 wphdmphd@gmail.com 12/20/2021 9:36:42 AM        SENT



Associated Case Party: Oscar Stilley

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Associated Case Party: ALAN BRAID MD

Name           BarNumber    Email                    TimestampSubmitted      Status

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Anne Swift                  aswift@masseygail.com    12/20/2021 9:36:42 AM   SENT
